            If this opinion indicates that it is “FOR PUBLICATION,” it is subject to
                 revision until final publication in the Michigan Appeals Reports.




                            STATE OF MICHIGAN

                            COURT OF APPEALS


PEOPLE OF THE STATE OF MICHIGAN,                                  UNPUBLISHED
                                                                  August 15, 2024
              Plaintiff-Appellee,

v                                                                 No. 366095
                                                                  Macomb Circuit Court
JASON M. BRILLA,                                                  LC No. 2022-002076-FC

              Defendant-Appellant.


Before: O’BRIEN, P.J., and CAVANAGH and SHAPIRO*, JJ.

SHAPIRO, J. (concurring).

        I concur in full as to the asportation and OV 5 issues. Because we are bound by People v
Houston, 473 Mich 390; __NW2d ___ (2005), I also concur as to the scoring of OV 3. However,
I respectfully suggest that the Supreme Court revisit Houston given its attenuated reasoning as
described in Justice Cavanagh’s dissent.



                                                           /s/ Douglas B. Shapiro




*Former Court of Appeals judge, sitting on the Court of Appeals by assignment.


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